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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

 SYMBOLOGY INNOVATIONS LLC

               Plaintiff,
        v.                                            Civil Action No. 1:16-cv-10751

 TWENTIETH CENTURY FOX                                TRIAL BY JURY DEMANDED
 HOME ENTERTAINMENT LLC

               Defendant.

                      NOTICE OF DISMISSAL WITHOUT PREJUDICE

Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby provides notice that it

dismisses all of its claims in this action WITHOUT PREJUDICE. Each party shall bear its own costs,

expenses, and attorneys' fees.

 Dated: February 1, 2017                          By: /s/ Frank Andreou
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                                                  /s/ Eugenio J. Torres-Oyola
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                                                  ATTORNEYS FOR PLAINTIFF
                                                  Symbology Innovations LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 1st, 2017, I electrically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification to all counsel of record.


                                                             /s/ Frank Andreou
                                                             Frank Andreou
